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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
          Plaintiff,                                 §
VS.                                                  §   CRIMINAL ACTION NO. C-06-658-3
                                                     §
MARTA ANGELICA FUENTES; aka                          §
ANGIE FUENTES,                                       §
                                                     §
          Defendant.                                 §

      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. §

3142(f). The following requires detention of the defendant pending trial in this case:

         (1)      There is a serious risk that the defendant will not appear for court as required; and

         (2)      There is a serious risk that the defendant will endanger the safety of another person or

the community.

         The evidence against the defendant is substantial. The findings and conclusions contained in

the Pretrial Services Report are adopted. The defendant has not produced a third party custodian or a co-

surety. She has failed to comply with court ordered conditions in the past, and is a regular cocaine user.

This order may be reconsidered if defendant can produce a co-surety and a person willing to take

responsibility for her, and she has acceptable living arrangements.

         The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded

a reasonable opportunity for private consultation with defense counsel. On order of a court of the

United States or on request of an attorney for the Government, the person in charge of the corrections


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facility shall deliver the defendant to the United States marshal for the purpose of an appearance in

connection with a court proceeding.

         ORDERED this 19th day of December, 2006.




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